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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                          AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP, an
individual, and REPRESENTATIVE RONNY
JACKSON, an individual,
                                             Case No. 2:24-cv-00236-Z
                       Plaintiffs,

      v.

PARAMOUNT GLOBAL d/b/a
PARAMOUNT, a Delaware corporation, CBS
BROADCASTING INC., a New York
corporation, and CBS INTERACTIVE INC.,
a Delaware corporation,

                       Defendants.



  DEFENDANTS MOTION TO DISMISS
     FOR LACK OF PERSONAL JURISDICTION AND IMPROPER VENUE
              OR, IN THE ALTERNATIVE, TO TRANSFER
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       Defendants Paramount Global, CBS Broadcasting Inc., and CBS Interactive Inc. (together,

               , by and through their undersigned attorneys, respectfully move to dismiss Plaintiffs

Amended Complaint (ECF No. 36)            Amended                    pursuant to Rules 12(b)(2) and

12(b)(3) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1406 or, in the alternative, to

transfer this action to the United States District Court for the Southern District of New York

pursuant to 28 U.S.C. § 1404 or § 1406. In support of their motion, Defendants rely on and

incorporate the accompanying memorandum of law, the December 6, 2024 Declaration of Bill

Owens and exhibits thereto, see ECF No. 25-1, the December 6, 2024 Declaration of Gayle C.

Sproul and exhibit thereto, see ECF No. 25-2, the concurrently filed Declaration of Bill Owens

and exhibit thereto, and the concurrently filed Declaration of Gayle C. Sproul.

       As more fully described in the memorandum of law, the Amended Complaint should be

dismissed for lack of personal jurisdiction and for improper venue. At a minimum, transfer is

warranted.

       First, none of the Defendants is subject to personal jurisdiction in Texas on these claims.

CBS Broadcasting Inc. is a New York corporation, CBS Interactive Inc. and Paramount Global

are Delaware corporations, and all three have their principal place of business in New York.

Accordingly, general jurisdiction does not lie. Specific jurisdiction also does not lie. Defendants

did not purposefully direct their suit-related conduct at Texas more than other states: The interview

of Vice President Kamala Harris, excerpts of which aired on Face the Nation and 60 Minutes, was

not filmed, edited, or produced in Texas, nor was Texas in any way the subject of the interview. If

this district has personal jurisdiction merely because CBS programs are broadcast nationwide, so

too does every district court in the country. That is not the law.




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       Second, the Northern District of Texas is not a proper venue under 28 U.S.C. § 1391(b).

There can be no dispute that this case could have been brought in the Southern District of New

York. See 28 U.S.C. § 1391(b)(3). And Plaintiffs do not allege    nor could they    that a substantial

part of the events or omissions giving rise to this claim occurred in Texas. See id. § 1391(b)(2).

       Third, even if the Court were to find that the exercise of jurisdiction is appropriate and that

this district is a proper venue, the private interest and public interest factors overwhelmingly

support transfer to the Southern District of New York under 28 U.S.C. § 1404(a). Among other

relevant considerations, the evidence and witnesses are in New York, such that litigating there

would be far more convenient for the parties, and New York has strong policy interests in

regulating the conduct of its citizens and media.

       For the foregoing reasons, Defendants respectfully request that the Court dismiss Plaintiff

Amended Complaint with prejudice or, in the alternative, transfer it to the Southern District of

New York.




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Respectfully submitted,

                                        /s/ Thomas C. Riney

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                  LOCAL RULE 7.1 CERTIFICATE OF CONFERENCE

       On March 5, 2025, Elizabeth McNamara, counsel for Defendants, conferred with Edward

Paltzik, counsel for Plaintiffs, regarding Defendants motion in the alternative to transfer to the

Southern District of New York. Mr. Paltzik stated that Plaintiffs oppose the motion to transfer and

believe that the Northern District of Texas is the appropriate venue.

                                              /s/ Elizabeth A. McNamara




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2025 a true and correct copy of the foregoing was

served via CM/ECF on all counsel of record.


                                              /s/ Thomas C. Riney
